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 2021-05178                                                                                                       FILED
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     N                           CIVIL DISTRICT COURT FOR PARISH OF ORLEANS
                                                                                                                        CIVIL
                                                                                                            DISTRICT COURT
Sectft; h 8
                                                    STATE OF LOUISIANA
           3
                       DOCKET NO:                                                       DIVISION «         »
           4
                                        ASHANTB DOMINIQUE SEGUE, ET AL
      .    5

                                                                VERSUS
           6

           7                                       WALMART INC,ET AL

           8   FILED:
                                                                                DEPUTY CLERK
           9

          10          PETITION FOR DAMAGES AND DAMAGES FOR WRONGFUL DEATH

          II
                       The joint petition ofASHANTE DOMINIQUE SEGUE, appearing as natural tutrix of
          12
               her minor son,                    all domiciled in die Parish of St Bernard, respectfully represents:
          13
                                                                      I.
          14
               Made Defendants herein are:                                                                                  ;
          15
                       A.   WALMART INC., who upon information and belief is a foreign corporation licensed
          16

                            to do and doing business in the Parish of Orleans, State of Louisiana and within the
          17

                            jurisdiction, of this Honorable Court:
          18

                       B.   JOHN or JANE DOE, upon information and belief, the manager of the WALMART
          19

          20                INC. in question and an individual of the age of majority residing in Orieans Parish:

          21           C.   ABC REPAIR and MAINTENANCE COMPANY, a foreign insurance corporation,

          22                duly authorized and licensed to do and doing business in this state, which has

          23      -     .   appointed the Secretary of State of Louisiana as its agent for service of process in suits

      24                    brodght against it in this state;                                  .   '

      25              D.    ABC WALK-IN FREEZER MANUFACTURING COMPANY, a foreign insurance

      26                    corporation, duly authorized and licensed to do and doing business in this state, which         .

      27                    has appointed the Secretary of State of Louisiana as its agent for service of process in

      28                    suits brought against it in this state;                        ,                            .

      29
                      E. ABC INSURANCE COMPANY, an unknown insurance company who insured
      30
                  .         WALMART INC., and who will be more folly identified upon discovery;
      31
                      F. DEF INSURANCE COMPANY, an unknown insurance company who insured ABC
      32
                            REPAIR and MAINTENANCE COMPANY and who will be more folly identified
      33
                            upon discovery; and
      34
                      G. GHI INSURANCE COMPANY, an unknown insurance company who insured ABC
      35
                            FREEZER COMPANY and who will be more fully identified upon discovery.                   •
      36

      37

      38
                                                                                                            VERIFIED
                            EXHIBIT
                                                                                                               Yanley S alazar

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       2
                              Defendants are jointly, severally, and in solid liable unto petitioner for damages
          3
              complained of herein for the following reasons, to wit;                     .
          4                                                                   "

                                                                   3.
          5
                             GAVAN AMOS was not married at the rime of his death. GAVAN AMOS was the
          6

          7   father of one son, namely                      a minor whose date of birth is 6/9/2014, represented

              herein by the minor's mother and natural tutrix, ASHANTE DOMINIQUE SEGUE.
          8

                                                                   4.
       9

      10
                             Following the death of GAVAN AMOS, ASHANTE DOMINIQUE SEGUE was duly

      11      confirmed and qualified as natural tutrix of het minor child,

      12                                                           5.


      13                      Upon information and belief, at all rimes pertinent hereto, that prior to his death,

      14      GAVAN AMOS was employed at WALMART INC, located in New Orleans Louisiana.

      13                                                           6.

      16                     Upon information and belief on JUNE 17, 2020, GAVAN AMOS walked into the

      1?      walk-in freezer at WALMART INC. when he slipped on wet floor, fell on his buttocks, and felt a

      18      popping sensation to his right knee with associated pain and swelling, and fell back down when he
      ig          ,
              tried to get up off of the ground.
     20
                                                                   7.
     21
                          As a result of the injuries sustained by the fall among other things, GAVAN AMOS had to
     22                               .
              undetgo surgery to his knee.
     23
                                                                   8.
     24
                          GAVAN AMOS underwent treatment, including surgery to his knee, and subsequently, on
     25
              August 2, 2020, he died, upon information and belief, as the direct result of the injuries received as
     26
              set forth above, after suffering intense anguish and pain for over 2 Vt months.
     27
                                                                   9.
     28
                          On August 2, 2020, GAVAN AMOS died upon information and belief as a direct result of
     29

              the injuries he sustained on June 17, 2021 . He was only 31 years old.
      30
                                                                   10.
      31
                          The sole and proximate cause of the above-referenced accident was the intentional willful,
      32

      33      wanton, and reckless acts of WALMART INC.'s, management, and its employees through

      34
              respondent superior. WALMART INC.'s management was substantially certain that a harmful act
      35 would occur and had a conscious indifference to die consequences of its own conduct which
      36      includes but is not limited to the following non-exclusive particulars;
      37      .       .   A. Intentionally with conscious indifference failing to properly train its employees on how

      38                  to safely work in and around its walk-in-freezer,



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Sectibn 8               B,   Intentionally with conscious indifference failing to properly maintain its walk-in
          2
                        freezer;
          3
                        C.   Intentionally with conscious indifference failing to observe ice and feost build up
          4
                        which upon information and belief melted, leaving a puddle on the floor and causing Mr.
          5
                        Amos to slip and fall;
          6

                        D.   Intentionally with conscious indifference creating an unsafe working condition;
          7

                        E.   Intentionally with conscious indifference failing to provide a workplace, that was free
          8

                  •     of recognized hazards that was likely to cause the death or serious physical harm;
          9

      10                F.   Intentionally with conscious indifference failing to provide ptoper equipment to help

      II                guide any excessive water into walk-in-drains so that wet floors could have a chance to dry;

      12                G.   Intentionally with conscious indifference failing to encourage employees to wear

      13              . rubber-soled shoes that would have helped reduce the chance of slipping and falling;

      14                H.   Intentionally with conscious indifference falling to regularly clean and or maintain its

      IS               walk-in freezer system;                      '                                                  .

      16                I.   Intentionally with conscious indifference failing to provide its employees cold weather

      17                garments to wear when entering the walk-in-freezer, and

      18               J.    Any and all other intentional acts which may be proven at trial on this matter.

      19
                                                                        11.

      20
                             Upon information and belief that during the period of time preceding and subsequent
      21                           '
              to GAVAN AMOS's death, WALMART INC employees complained about the lack of safety
      22                                            •       „                                       '
              protocols regarding the entering and exiting of the walk-in-freezer, to which WALMART INC
      23
              management failed to remedy.
      24
                                                                        12.
    . 25
                             Upon information and belief that WALMART INC.'s management, namely JOHN or
      26
              JANE DOE willfully and intentionally refused to provide proper safety measures for its employees
      27                                                        .
              and instead intentionally with conscious indifference created an atmosphere in which WALMART
      28
      ^       INC.'s employees were exposed to the. unsafe dangerous conditions that existed when entering and

              exiting the walk-in freezers in its stores.
      30
                                                                        13.
      31
                             Upon information and belief that WALMART INC. willfully and intentionally refused
      32

      22      to provide proper safety protocols and instead intentionally created an unreasonable hazard,         '

      24      notwithstanding the numerous employees that had been injured due to the walk-in freezer, both
      35      before and after GAVAN AMOS's fall. WALMART INC.'s intentional actions were the result of

    • 36      conscious and willful creation of dangerous conditions which inevitably led to Plaintiffs injuries,

      37      and thus, ultimately his death.

      38




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           2
                              . Upon information and belief that notwithstanding the prior injuries of other
           3
               employees, WALMART INC. refused to provide proper equipment and or proper maintenance or
          4                                                               '•                                             •
           ^   to take any other measure to ensure die safety of its employees.                                .

                                                                     15.
          6
                              Management's intentional and willful and conscious indifference and absolute refusal
           7

          g    to address the safety concerns clearly and unambiguously created a dangerous environment in

          ^    which GAVAN AMOS was injured, and WALMART INC. clearly and with conscious indifference

          tO   desired for GAVAN AMOS to be seriously injured while performing bis duties as an employee of

       11      WALMART INC.                .        .                                  .

          12                                                         16.

       13                   ABC WALK-IN FREEZER MANUFACTURING COMPANY is jointly and severally

       14      liable, unto Petitioners for their injuries and resulting damages in the following non-exclusive

       15      particulars;                               .                    .                                              :

       16

       17
                       A.          The walk-in fteczet and/or cooler manufactured by ABC WALK-IN FREEZER

       18              MANUFACTURING COMPANY 1$ unreasonably dangerous in design as provided by La.

       19              R.S. 9:2800.56 of the Louisiana Products Liability Act;                                       .

      20
                       B. The walk-in freezer and/or cooler manufactured by ABC WALK-IN FREEZER
      21
                       MANUFACTURING COMPANY is also unreasonably dangerous because an adequate                                   .
      22

                       warning about a characteristic of the product which was likely to cause damage was never
      ,23

      24               provided as required by La. R.S. 9:2800.57 of Louisiana Products Liability Acq

      25               C The walk-in freezer and/or cooler, manufactured by ABC WALK-IN FREEZER

     . 26              MANUFACTURING              COMPANY is unreasonably dangerous                    in construction       or
      27
                       composition as provided by La. R.S. 9:2800.55 of the Louisiana Products Liability Act;
      28
                       D. The walk-in freezer and/or cooler manufactured by ABC WALK-IN FREEZER
      29

                       MANUFACTURING COMPANY is unreasonably dangerous because it failed to conform
      30

      31               to     an     express   warranty       made   by            defendant   ABC   WALK-IN        FREEZER

      32               MANUFACTURING COMPANY and was not. manufactured in accordance with the                                         .

      33
                       specifications furnished by ABC WALK-IN FREEZER MANUFACTURING COMPANY,
      34
                       as provided by La. R.S. 9**2800.58 of the Louisiana Products Liability Act; and
      35
                       E. AU other acts of negligence and/or other legal fault to be shown upon trial of this matter.
      36

      37

      38




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          2
                      The accident referred to above, and the resulting injury and damages, were caused solely
          3

              and proximately by the fault and negligence of ABC FREEZER REPAIR and MAINTENANCE

              COMPANY; which fault and negligence consisted of the following;
          5


          6
                      A. In failing to use reasonable care to property repair and or inspect the walk-in freezer
          7
                     referenced herein;
          8

                      B. In failing to cany out the necessary repairs of the walk-in freezer referenced herein;
          9


      10              C. In failing to properly inspect the walk-in freezer referenced herein;

      11              D. In failing to establish proper procedures for cleaning and inspection walk-in freezer

      12
                      referenced herein;                                                  .
      13
                      E. In cteating and/or having actual or constructive notice of the condition which caused
      14
                      Plaintiffs injury prior to its occurrence; and
      15

                      F. Other acts of fault or negligence which will be proved at the trial of this matter.
      16

      17                                                           18. .

      18
                      Upon information and belief that prior to this accident, defendants, WALMART INC,
      19
              ABC WALK-IN FREEZER MANUFACTURING COMPANY and ABC WALK-IN FREEZER
     20
     ^        MAINTENANCE AND REPAIR COMPANY, each, respectively had a policy of insurance

              insuring each defendant against liability for fault and acts described herein. Each policy was in hill
      22                                    ,             .                                                        '

      __      force and effect at die time of the accident sued on herein.
      23

                                                                   19.
      24

                     At the rime of his death, GAVAN AMOS was 31 years of age, and was employed as a
      25

      2$      construction foreman for WALMART BMC. at a yearly salary of $31,000.00 and was highly

      27      regarded by his employee                         .

      28
                                                                   20.


      29              Significant expenses were incurred as a result of the injury and death of GAVAN AMOS

      30      including but not limited to medical and burial expenses.

      31                                                           21.

      32                              is the only surviving son of GAVAN AMOS and in accordance with

      33      Louisiana Civil Code Article 2315 et serj., ASHANTE DOMINIQUE SEGUE, in her capacity as

      3^      natural tutrix of her minor child K|jjjj|k Alibis, asserts this survival and wrongful death action

      35      against the Defendants in solido, seeking all such damages as may be reasonable in the premises,
              including damages for the pain and suffering of- GAVAN AMOS; grief, mental anguish and
      37


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Sectftkfg            ring of I        a:         and for loss of future support and for loss of consortium, service and
            2
                society.
            3


            4
                              WHEREFORE, Plaintiffs pray that this petition for damages be served on the named

            5   defendants, and that after due proceedings are had, that there he judgment rendered b favor of the

            6 Plaintiffs, ASHANTE DOMINIQUE SEG UK on behalf of                               Al       , and against the

            7 Defendants WALMART INC, JOHN or J ANE DOK, ABC REPAIR and MA INTENANCE
            8
                COMPANY, ABC WALK-IN FREEZER MANUFACTURING COMPANY, ABC

            9 INSURANCE COMPANY, DEF INSURANCE COMPANY, and GH1 INSURANCE
   .       10
                COMPANY, in solido, for all damages reasonable in the premises together with legal interest
           11                                _            ,   _                     •                   .              . •       '
                thereon, from date of judicial demand, until paid, and for all costs of these proceedings, and all
           12
                equitable and just relief.
           13

           14
                                                                    Respectfully submitted:
           15
                                                                    PICHON LAW FIRM, LLC
           16

           17                                                       ./

           18
                                                                   "fpremv |. Pichcm (#^2218)
                                                                    OiuTCtmaFPhtce'^
           19                                                       365 Canal Street, Suite 1490
                                                                   New Otleans, LA 70130
           20                                                       Direct: 504-576-0440
                                                                    Facsimile; 504-576-0456
           21

       '   22                                                      and


           23                                                      JACK, HARRISON & HAMPTON LLC
                                                                   Damion 1... Jack #36877
           24
                                                                    R. Christopher I larrison #35809

           25
                                                                   Gerald J. Hampton, Jr. #35163
                                                                    650 Poydras Street, Ste. 2107
           26                                                       New Orleans, Louisiana 70130
                                                                    rehurrisun6/4iu:k:tndhiimsonliiw.coni
           27
                                                                   ph, (504) 603-3222, Ext. 102
                                                                    fax (504) 324-0983         '
           28

           29                                                      ,rrrOK\T.yS FOR I>L4II\T1FF

           30



           31 PLEA8E SERVE:
           32
                WALMART INC.
           33   Through Registered Agent:
                CT CORPORATION SYSTEM
           34   3867 Plaza Tower Drive
           35
                Baton Rouge, LA 70816


           36   JOHN or JANE DOE
                (Please hold service)                                                              A TRUE COPY
           37

           38

                                                                                         deput? clerk civil district court                .
                                                                                                   PARISH OF ORLEANS
                                                                                                      STATE OF LA            '        '
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: N                                                               CIVIL
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                     and MAINTENANCE COMPANY
SectiV r$Ss>REPAIR
            e hold service)
           2

               ABC WALK-IN FREEZER MANUFACTURING COMPANY
               (Please hold service)

           4 ABC INSURANCE COMPANY
           5   (Please hold service)

           6   DEF INSURANCE COMPANY
           ^   (Please hold service)

               GHI INSURANCE COMPANY
           8
               (Please hold service)
           9

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